
28 So.3d 945 (2010)
Jean R. ESTEY, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-0052.
District Court of Appeal of Florida, First District.
February 18, 2010.
Jenna Dean Lopes of the Law Office of Jenna Lopes, P.A., Jacksonville, for Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
DISMISSED. See Fla. R.App. P. 9.141(c)(5)(C).
KAHN, PADOVANO, and WETHERELL, JJ., concur.
